 USDC IN/ND case 2:14-cv-00345-RL-PRC document 21 filed 01/15/15 page 1 of 2


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION


THE ESTATE OF EMILY ANN          )
HARRISON, deceased, by Maranda   )
Campbell, Personal Representative, and
                                 )
MRH, a minor, by her Guardians, Alice
                                 )
Harrison and Maranda Campbell,   )
              Plaintiffs,        )
                                 )                    CAUSE NO. 2:14-CV-345-RL-PRC
      v.                         )
                                 )
DR. KIMBERLY A. HESS, DR. DANIEL )
LOTT, and NORTHSHORE HEALTH      )
CENTERS, INC.,                   )
            Defendants.          )


                                             ORDER

       This matter is before the Court on a Motion for Substitution of Party [DE 16], filed by the

Government on January 13, 2015.

       The Government moves the Court pursuant to 28 U.S.C. § 2679 to substitute the United

States of America for Defendants Dr. Kimberly A. Hess, Dr. Daniel Lott, and NorthShore Health

Centers, Inc. United States Attorney David Capp has filed a certification that at all relevant times,

NorthShore Health Centers, Inc. was deemed an entity as an employee of the Public Health Service

Act pursuant to the Federally Supported Health Centers Assistance Act, 42 U.S.C. § 233(g)-(n) and

that Defendants Dr. Hess and Dr. Lott were acting within the scope of their employment as Public

Health Service employees of NorthShore Health Centers, Inc. at the time of the events on which this

lawsuit is based.

       The Federal Tort Claims Act (“FTCA”) provides that a suit against the United States shall

be the exclusive remedy for persons with claims for damages resulting from the actions of federal
 USDC IN/ND case 2:14-cv-00345-RL-PRC document 21 filed 01/15/15 page 2 of 2


employees taken within the scope of their office or employment. 28 U.S.C. § 2679(b) (1988).

Pursuant to the Federal Employees Liability Reform and Tort Compensation Act, which amended

the FTCA,

               [u]pon certification by the Attorney General that the defendant
               employee was acting within the scope of his office or employment at
               the time of the incident out of which the claim arose, any civil action
               or proceeding commenced upon such claim in a United States district
               court shall be deemed an action against the United States under the
               provisions of this title and all references thereto, and the United
               States shall be substituted as the party defendant.

28 U.S.C.A. § 2679(d) (1988) (emphasis added). Pursuant to 28 C.F.R. § 15.4, “[t]he United States

Attorney for the district where the civil action or proceeding is brought ... is authorized to make the

statutory certification that the Federal employee was acting within the scope of his office or

employment with the Federal Government at the time of the incident out of which the suit arose.”

       Finding the motion well taken, the Court hereby GRANTS the Motion for Substitution of

Party [DE 16] and ORDERS that the United States of America be SUBSTITUTED for NorthShore

Health Centers, Inc., Dr. Kimberly A. Hess, and Dr. Daniel Lott as the sole Defendant in this case.

The Court DIRECTS the Clerk of the Court to amend the caption of this case to show the “United

States of America” as the only Defendant.

       SO ORDERED this 15th day of January, 2015.

                                       s/ Paul R. Cherry
                                       MAGISTRATE JUDGE PAUL R. CHERRY
                                       UNITED STATES DISTRICT COURT

cc:    All counsel of record




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